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IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA )
                         )
    v.                   )                 CRIMINAL ACTION NO.
                         )                   2:94cr62-MHT
MARY MORROW              )                       (WO)

                               ORDER

     Upon an independent and de novo review of the

record,     including       the     recommendation         of    the

Retroactivity Screening Committee, which was adopted,

it is ORDERED that defendant Mary Morrow’s motions for

reduction of sentence (doc. nos. 1931, 1959, & 1995)

are denied.

     The    United      States      Sentencing        Commission’s

retroactive     amendment      to    the    federal     sentencing

guideline ranges for offenses involving cocaine base

or crack cocaine does not apply to defendant Morrow’s

guideline sentence.         Although one of her counts of
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conviction was for conspiracy to possess with intent

to distribute cocaine and cocaine base, she was not

held accountable in her guideline sentence for any

cocaine base involved in the conspiracy.

     DONE, this the 21st day of August, 2008.


                               /s/ Myron H. Thompson
                            UNITED STATES DISTRICT JUDGE
